Case 1:10-cv-04331-RRM-CLP Document 1 Filed 09/23/10 Page 1 of 8 PageID #: 1
Case 1:10-cv-04331-RRM-CLP Document 1 Filed 09/23/10 Page 2 of 8 PageID #: 2
Case 1:10-cv-04331-RRM-CLP Document 1 Filed 09/23/10 Page 3 of 8 PageID #: 3
Case 1:10-cv-04331-RRM-CLP Document 1 Filed 09/23/10 Page 4 of 8 PageID #: 4
Case 1:10-cv-04331-RRM-CLP Document 1 Filed 09/23/10 Page 5 of 8 PageID #: 5
Case 1:10-cv-04331-RRM-CLP Document 1 Filed 09/23/10 Page 6 of 8 PageID #: 6
Case 1:10-cv-04331-RRM-CLP Document 1 Filed 09/23/10 Page 7 of 8 PageID #: 7
Case 1:10-cv-04331-RRM-CLP Document 1 Filed 09/23/10 Page 8 of 8 PageID #: 8
